


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Rings County (Murphy, J.), imposed April 21, 2015, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  Inasmuch as the record does not demonstrate that the defendant’s purported waiver of his right to appeal was made knowingly, voluntarily, and intelligently, the purported waiver of his right to appeal is not enforceable (see People v Bradshaw, 18 NY3d 257, 267 [2011]; People v Lopez, 6 NY3d 248, 257 [2006]; People v Brown, 122 AD3d 133, 145 [2014]). Thus, review of his excessive sentence claim is not precluded. However, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Hall, Austin, Duffy and Connolly, JJ., concur.
 
